     Case 2:23-mj-30387-DUTY ECF No. 5, PageID.6 Filed 09/26/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff            WAIVER OF RULE 5 AND 5.1 HEARINGS
                                          (Excluding Probation Violation Cases)




                                                                   f
V.                                        Case No. 23-30387
                                          0riginating No. 23-147


SAJED AL-MAAREJ,                                                       f SEP � 6 'lJf/3f �
                                                                        CLERK'S 0FACe
                     Defendant.
----------------                                                     U.S. DtSTRICT COURT

       I. SAJED AL-MAAREJ understand that in the Western District of
Washington charges are pending alleging a violation of 18 USC Sections 1349,

1343, 1341 and 2 - Conspiracy to Commit Wire and Mail Fraud, Wire Fraud, Mail

Fraud and that I have been arrested in this District and taken before a United States

Magistrate Judge who informed me of my right to:

1.     Retain counsel or request the assignment of counsel if I am unable to afford one.

2.     Request transfer of the proceedings to this district pursuant to Fed. R. 20, in

       order to plead guilty.

3.     Have an identity hearing to determine if I am the person named in the charge.

4.     Have a preliminary examination (unless and indictment has been returned or an

       information filed) to determine w1iether there is probable cause to believe an

       offense has been committed by me; the hearing to be held either in this district or

       the district of prosecution.
Case 2:23-mj-30387-DUTY ECF No. 5, PageID.7 Filed 09/26/23 Page 2 of 2
